 


                   IN THE UNITED STATES BANKRUPTCY COURT
               NORTHERN DISTRICT OF ALABAMA, NORTHERN DIVISION

In re:                                   )                        Chapter 11
                                         )
FAIRMONT PARTNERS LLC,                   )                        Case No. 18-82014-CRJ
                                         )
                  Debtor.                )                        Judge Clifton R. Jessup, Jr.
________________________________________ )

             ORDER (A) AUTHORIZING AND SCHEDULING AN AUCTION AT
              WHICH DEBTOR WILL SOLICIT THE HIGHEST OR BEST BID
                FOR THE SALE OF ASSETS; AND (B) APPROVING BID
                 PROCEDURES GOVERNING THE PROPOSED SALE

           This matter is before the Court on the Debtor’s Second Amended Motion for: (A) for

    Authority to Sell Assets Free and Clear of Liens, Claims, and Encumbrances; (B) to Assume

    and Assign Certain Executory Contracts and Leases and Establish Cure Costs in Connection

    Therewith; and (C) to Establish Procedures With Respect to Such Sale and the Assumption

    and Assignment of Executory Contracts and Leases (Doc. No. 114, the “Motion”)1 that was

    filed by Fairmont Partners LLC, debtor and debtor-in-possession (“Debtor”) in the above styled

    case (the “Case”). In the Motion, Debtor seeks the entry of (i) an order approving a sale and

    bidding process to be used in connection with the proposed sale of certain identified assets (the

    “Identified Assets”); (ii) an order approving the sale by Debtor of the Identified Assets to

    Access Point Financial Inc. or its affiliate (collectively, “APF”) or to the bidder submitting the

    highest or best bid for the Identified Assets in connection with the sale and bidding process.

    The Court having held a final hearing regarding the Motion on November 5, 2018 (the “Bid

    Procedures Hearing”); upon consideration of the Motion; and after consideration of the

    arguments of counsel made at the Bid Procedures Hearing; and upon the entire record of this

                                                            
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               Capitalized terms not defined herein shall have the meanings ascribed to such terms in
the Motion 


 

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    Case; and it appearing that the approval of the bid procedures (collectively, the “Bid

    Procedures”) as requested in the Motion is in the best interests of the Debtor, its estate and

    creditors; and good and sufficient cause therefor, the Court finds as follows:

            A.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

    1334.

            B.     This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue is proper in

    this District and this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

            C.     The form and manner of notice of the Bid Procedures and the Bid Procedures

    Hearing shall be, and hereby are, approved as sufficient and adequate notice. Specifically, all

    creditors and counterparties to the contracts and leases listed on Exhibit B to the Asset Purchase

    Agreement, dated November 6, 2018 (the “APA”), attached hereto as Exhibit 1, shall be

    properly served by the Debtor within five (5) business days of this Order. No other or further

    notice in connection with the entry of this Order is or shall be required.

            D.     The Bid Procedures were proposed by Debtor in good faith with the goal of

    maximizing the value of the Identified Assets for the benefit of all creditors of the estates.

            E.     Debtor has requested authority to assume and assign all of their executory

    contracts, including, without limitation, those leases, contracts, licenses and other agreements

    identified in the APA.

            F.     APF has a secured, properly perfected, and first-priority allowed claim against

    all or substantially all of Debtor’s assets. APF is entitled to credit bid its secured claim pursuant

    to 11 U.S.C. § 363(k) in connection with the sale contemplated by this Order.

            G.     The Motion and this Order comply with all applicable provisions of the

    Bankruptcy Code and the Bankruptcy Rules.



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            H.    Sufficient notice has been given to all parties in interest.

            NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED

    THAT:

        1.       The Motion is GRANTED to the extent set forth in this Order.

        2.       APF is a secured creditor of Debtor with a security interest in all or substantially

all of Debtor’s property. APF asserts a secured claim of more than $10,000,000.00. APF has

made an initial bid, in the form of a credit bid, in the amount of $9,250,000.00, and has agreed that

it will not credit bid more than $10,200,000 at any auction that may be held in accordance with the

Bid Procedures (the “Credit Bid”).

        3.       The following “Bid Procedures” are hereby approved and shall be used in

connection with the proposed sale of the Identified Assets:

                 a. Initial Overbid. Any third party (other than APF) that is interested in acquiring
                    the Identified Assets must submit an “Initial Overbid” in conformance with the
                    Bid Procedures by not later than 5:00 p.m., CDT, in Decatur, Alabama on
                    December 5, 2018 (the “Overbid Deadline”). Any such Initial Overbid must:

                         i. Contain a signed definitive asset purchase agreement that must: (1)
                            provide for consideration to Debtor in an amount equal to or greater
                            than the sum of (a) the consideration payable by APF under the Credit
                            Bid, plus (b) cash in an amount equal to $50,000.00; (2) not be subject
                            to any (a) financing contingency, (b) contingency relating to the
                            completion of unperformed due diligence, provided that APF waives
                            any such conditions on or prior to the Overbid Deadline, (c)
                            contingency relating to the approval of the overbidder’s board of
                            directors or other internal approvals or consents, or (d) any conditions
                            precedent to the overbidder’ s obligation to purchase the Identified
                            Assets; and (3) provide that the overbidder shall purchase all or
                            substantially all of the Identified Assets;

                        ii. Include a cashiers’ or certified check in the aggregate amount of
                            $250,000.00, payable to an independent escrow agent to be designated by
                            Debtor (it being understood that deposits may also be sent by wire transfer
                            of immediately available funds);

                       iii. To the extent not previously provided to Debtor, be accompanied by
                            evidence satisfactory to the Debtor in its commercially reasonable


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                      discretion that the overbidder (1) is willing, authorized, capable, and
                      qualified financially, legally, and otherwise, of unconditionally
                      performing all obligations under its proposed purchase agreement, in
                      the event that it submits the Prevailing Bid (as defined below) at the
                      Auction, and (2) has substantial experience acquiring, owning,
                      rehabilitating and managing projects that are substantially similar to the
                      Identified Assets;

                 iv. Remain open and irrevocable until one hundred (100) days after the
                     entry of an order by the Court approving a definitive agreement
                     providing for the sale of the Identified Assets; and

                  v. Be submitted to (1) counsel to the Debtor, Stuart M. Maples, 200 Clinton
                     Avenue West, Suite 1000, Huntsville, Alabama 35801,
                     smaples@mapleslawfirmpc.com (2) counsel to APF, John F. Isbell,
                     Thompson Hine LLP, 3560 Lenox Road, Suite 1600, Atlanta, Georgia
                     30326, john.isbell@thompsonhine.com; and (3) Office of the Bankruptcy
                     Administrator, P.O. Box 3045, Decatur, Alabama 35602, Attention:
                     Richard Blythe, in each case so as to be received not later than the
                     Overbid Deadline.

          b. Auction. In the event Debtor timely receives a conforming Initial Overbid from a
             prospective purchaser as described above (a “Qualified Bidder”), then the Debtor
             will conduct an Auction with respect to the sale of the Identified Assets on
             December 7, 2018, at 1:00 p.m., CDT, at the offices of Maples Law Firm, PC, 200
             Clinton Avenue West, Suite 1000, Huntsville, Alabama 35801. In order to participate
             in the Auction, each prospective purchaser shall be required to comply with the
             requirements of the Bid Procedures and to submit an Initial Overbid that is timely
             and that complies in all respects with the Bid Procedures Order. At the Auction,
             Qualified Bidders and APF (it being understood that APF shall be deemed to be a
             Qualified Bidder) may submit successive bids in cash or credit increments of at least
             $50,000.00 greater than the prior bid for the purchase of the Identified Assets until
             there is only one offer that Debtor determines (in the exercise of its sole discretion),
             subject to Court approval, is the highest or best offer for the Identified Assets (the
             “Prevailing Bid”). All bidding for the Identified Assets will be concluded at the
             Auction and there will be no further bidding at the Sale Hearing. If no conforming
             Initial Overbid from a Qualified Bidder shall have been received at or prior to the
             Overbid Deadline, the Auction will not be held, APF shall be designated as the
             highest and best bid, and the Sale Hearing will proceed with respect to the Credit Bid
             on an expedited basis. In determining the Prevailing Bid, consideration will be given
             to, among other things: (i) the total consideration to be received by Debtor; (ii) the
             bidder’s financial ability to close a transaction and the likelihood and timing thereof;
             (iii) the net benefit to Debtor’s estate; and (iii) the amount of the bidder’s experience
             acquiring, owning, rehabilitating and managing projects that are substantially similar
             to the Identified Assets. At the Auction, APF shall have the right to (i) submit further
             credit bids; and (ii) at any time, request that Debtor announces, subject to any
             potential new bids, the then current Prevailing Bid and, to the extent APF requests,


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                   use reasonable efforts to clarify any and all questions APF may have regarding
                   Debtor’s announcement of the then current Prevailing Bid. Only the persons who
                   submitted Initial Overbids and APF may participate in the Auction. After the Auction
                   has concluded, Debtor shall present the Prevailing Bid to the Court for consideration
                   and approval at the Sale Hearing

               c. Sale Hearing. The Sale Hearing will be conducted on December 10, 2018, at
                  1:30 p.m., CDT, at the United States Bankruptcy Court, 400 Well Street
                  Decatur, AL, at which time Debtor intends to present the Prevailing Bid for
                  approval by the Court pursuant to the provisions of Sections 105, 363(b), 363(f),
                  363(m), 363(n), and 365 of the Bankruptcy Code. Debtor shall be deemed to
                  have accepted a bid only when the bid has been approved by the Court at the
                  Sale Hearing.

               d. Highest and/or Best Bid. At all times during the proposed sale process, Debtor
                  shall retain the right to determine, in its reasonable discretion, which bid
                  constitutes the highest or otherwise best offer for the purchase of the Identified
                  Assets, and which bid should be selected as the Prevailing Bid, if any, all subject
                  to final approval by the Court pursuant to the provisions of Section 363(b) of
                  the Bankruptcy Code. Without limiting the generality of the foregoing, Debtor
                  may, at any time before entry of an order of the Court approving a Prevailing
                  Bid, reject any bid (other than APF’s bid) that, in the reasonable discretion of
                  Debtor, is determined to be (i) inadequate or insufficient, (ii) contrary to the
                  requirements of the Bankruptcy Code or the Bid Procedures, (iii) from a bidder
                  that does not have substantial experience acquiring, owning, rehabilitating, and
                  managing projects that are substantially similar to the Identified Assets, or (iv)
                  otherwise contrary to the best interests of Debtor, its estate, or its creditors,
                  provided, however, that all such rejected bids will be brought to the attention of
                  the Bankruptcy Court at the Sale Hearing, together with an explanation on why
                  such bid was rejected.

               e. Sale Implementation. Following the approval of the Prevailing Bid at the Sale
                  Hearing, Debtor will be authorized and directed to take all commercially
                  reasonable and necessary steps to complete and implement the transaction(s)
                  contemplated by the Prevailing Bid, including (but not limited to) seeking entry
                  of one or more Sale Orders.

       4.      Objections (if any) to approval of any Prevailing Bid or to approval of any proposed

sale of the Identified Assets, or any proposed assumption and assignment of executory contracts

and unexpired leases (including as to any Cure Claim) pursuant to any Prevailing Bid, shall be in

writing, shall set forth the name of the objecting party, the basis for the objection and the specific

grounds therefor, and shall be filed with the Court and served upon each of the following so as to



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be actually received on or before 11:30 a.m., CDT, on December 10, 2018: (a) counsel to Debtor;

(b) counsel to APF, John Isbell, Thompson Hine LLP, 3560 Lenox Road, Suite 1600, Atlanta,

Georgia 30326, john.isbell@thompsonhine.com; and (c) Office of the Bankruptcy Administrator,

P.O. Box 3045, Decatur, Alabama 35602, Attention: Richard Blythe. Any objection not filed and

served in accordance with this paragraph 5 shall be deemed waived and shall be forever barred.

       5.      The failure of any third party to file and serve an objection as ordered and directed

herein shall be deemed the consent of such party to the granting of the Motion and the sale and

transfer of the Identified Assets free and clear of all liens, claims, and encumbrances (including

the assumption and assignment of executory contracts and unexpired leases, including any

applicable Cure Claim, under the Prevailing Bid).

       6.      The Bid Procedures are fair and reasonable, are reasonably calculated to produce

the best and highest offers for the Identified Assets, and will confer actual benefits upon Debtor’s

estate. The Bid Procedures represent an exercise of the sound judgment of Debtor and will facilitate

an orderly sale process.

       7.      Debtor shall notice the sale of the Identified Assets by publishing notice of the sale

in the Times Daily, a newspaper in circulation in Florence, Lauderdale County, Alabama. The

local notice of sale publications will run for 3 consecutive weeks beginning the day after the

approval of Debtor’s Sale Motion. It is anticipated that these publication dates will be November

9, 16 and 23, 2018. The Debtor shall also notice the sale of the Identified Assets on LoopNet.com,

a national on-line commercial real estate marketplace. It is anticipated that a national sale notice

on LoopNet will be posted by November 7, 2018, and remain active until the Sale Date.

       8.      Debtor shall serve a copy of this Order as contemplated in the Motion. Such notice

shall be and is hereby determined to be sufficient notice of the Bid Procedures, the Auction, and




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the Sale Hearing, and not further notice is required with respect to any of the foregoing or the

matters that are the subject of this Order.

       9.              The Court retains jurisdiction over any matter or dispute arising from or

                       relating to the implementation of this Order.

       10.             Debtor’s counsel is ordered to serve the Order and Exhibits to parties and

                       creditors.



Dated this the 7th day of November, 2018.

                                                     /s/ Clifton R. Jessup, Jr.
                                                     Clifton R. Jessup, Jr.
                                                     United States Bankruptcy Judge




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